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OFFICE OF THE CLERK
UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE
PETERI:DALLEO LocKBoxls
C\erk 844 KING sTREET

WlLMINGTON, DE 19801
(302) 573-6170

August 28, 2008

Peter A. Levin, Esq.
1927 Hamilton Street
Philadelphia PA 19130

RE: U.S.A. V. MICHAEL LINDSEY
C.R. 08-97-l-JJF

Dear Mr. Levin:

Enclosed is a copy of the Court's order appointing you counsel
under the Criminal Justice Act in the above criminal case. This
appointment requires representation of the defendant for all
proceedings in this Court. When the proceedings in this Court are
completed, the attached voucher should be submitted to this office
within 45 days, with the enclosed worksheets, for approval of
payment. Please complete box 21, Case Disposition, using the Case
Disposition Codes provided.

If an appeal is taken in this matter the Court of Appeals will
generally appoint you to represent the defendant for the appellate
proceedings. The Clerk of the 3rd Circuit Court of Appeals will
issue another CJA voucher for service rendered in their Court. If
the Notice of Appeal is filed and you wish to withdraw as counsel,
please address said nmtion to the Clerk, 3rd Circuit Court of
Appeals.

Sincerely,

PETER T. DALLEO, CLERK

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BY:
Deputy Clerk

PTD/bkb
enclosure

cc: Joseph S. Grubb, AUSA
Eleni Kousoulis, FPD

fwva azenveaoz

 

